Case 2:25-cv-00241-BHS   Document 1-6   Filed 02/06/25   Page 1 of 4




                                                  2:25-cv-241
Case 2:25-cv-00241-BHS   Document 1-6   Filed 02/06/25   Page 2 of 4
         Case 2:25-cv-00241-BHS        Document 1-6      Filed 02/06/25     Page 3 of 4


                                          EXHIBIT A



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                                           Page 1 of 2
         Case 2:25-cv-00241-BHS        Document 1-6      Filed 02/06/25   Page 4 of 4




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                                           Page 2 of 2
